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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS

        Kimberly Laura Smith-Brown et al, )
                                          )
                Plaintiff(s),             )                   Case No: 18cv610
                                          )
               v.                         )                   Magistrate Judge: M. David Weisman
                                          )
        Ulta Beauty, Inc. et al.,         )
                                          )
               Defendant(s),              )

                                              ORDER


          Upon further review the Court denies without prejudice plaintiffs’ motion to compel
[152] and [153] because: (1) plaintiffs do not assert that they tried to resolve the privilege dispute
with defendants before seeking Court intervention, as required by Local Rule 37.2; (2) plaintiffs’
contention that none of the 714 documents on the interim privilege log is actually privileged
suggests that they have an unduly narrow view of privilege; and (3) plaintiffs’ request that the
Court make a privilege determination as to categories of documents, rather than on a document-by-
document basis, is improper. See Am. Nat'l Bank & Trust Co. of Chi v. Equitable Life Assurance
Soc’y of the U.S., 406 F.3d 867, 879-80 (7th Cir. 2005) (overturning sanction based on a privilege
determination rendered after an in camera review of a sample of assertedly privileged documents);
R.B.S. Citizens, N.A. v. Husain, 291 F.R.D. 209, 218 (N.D. Ill. 2013) (“When claims of privilege
are contested, they must be resolved on a document-by-document basis.”). The Court therefore
vacates the briefing schedule and hearing date for plaintiffs' motion to compel. Status hearing set
for 3/7/19 at 10:00 a.m.




 Date: February 11, 2019                                      _____________________________
                                                              M. David Weisman
                                                              United States Magistrate Judge
